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                      UNITED STATES DISTRICT COURT
                                FOR THE
                       NORTHERN MARIANA ISLANDS

CR-12-00026-001                                                       October 31, 2012
                                                                      9:35 a.m.

         UNITED STATES OF AMERICA -vs- KUANYI CHEN aka “Pangzi”

PRESENT:      HON. FRANCES TYDINGCO-GATEWOOD, DISTRICT JUDGE PRESIDING
              KIM WALMSLEY, LAW CLERK
              TINA MATSUNAGA, COURTROOM DEPUTY
              RAMI BADAWY, ASSISTANT U.S. ATTORNEY
              MARK HANSON, COURT-APPOINTED COUNSEL
              KUANYI CHEN, DEFENDANT
              DENNIS TSE, INTERPRETER FOR DEFENDANT

PROCEEDINGS: CHANGE OF PLEA

       Defendant Kuanyi Chen appeared in custody with court-appointed counsel, Mark
Hanson. Government was represented by Rami Badawy, Assistant United States Attorney.
Also seated at government’s table was Michael Lansangan, Special Agent, Homeland
Security Investigations. Margarita Wonenberg, U.S. Probation Officer, was also present
in court.

       Government stated that there were no victims in this case.

       Dennis Tse appeared and was sworn as interpreter for the defendant.

        Defendant was sworn and examined as to his understanding of his constitutional
rights, his right to trial and his understanding of the plea agreement.

       Court reviewed every element of the Plea Agreement with the Defendant.
Government reported to the Court what they would be able to prove if this matter
proceeded to trial. Defendant entered a plea of guilty to Count VII of the Indictment. Court
found that the defendant was fully competent to enter a knowing, voluntary and intelligent
plea. Court accepted the plea and the Plea Agreement.
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       Court ordered the Presentence Investigation Report be submitted by January 8,
2013, and that the Sentencing Hearing be set for Wednesday, February 13, 2013, at
9:30 a.m.

        Court ordered the plea agreement be unsealed and also ordered that the jury trial
set for November 19, 2012 be vacated.

      Court remanded the defendant into the custody of the U.S. Marshal.

                                               Adjourned at 10:20 a.m.




                                               /s/ Tina P. Matsunaga, Courtroom Deputy
